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                     EXHIBIT C
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                                                           Page 1

 1
 2      UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
 3      - - - - - - - - - - - - - - - - - - - -x
         AVALON HOLDINGS CORP.,
 4                          No. 18-cv-7291(VSB)
                    Plaintiff,     (ECF Case)
 5
                    -against-
 6
         GUY GENTILE and MINTBROKER INTERNATIONAL,
 7       LTD.,
 8                  Defendants.
        - - - - - - - - - - - - - - - - - - - -x
 9      Related to:
        - - - - - - - - - - - - - - - - - - - -x
10       NEW CONCEPT ENERGY, INC.,
                            No. 18-cv-8896(VSB)
11                  Plaintiff,      (ECF Case)
12              -against-
13       GUY GENTILE and MINTBROKER
         INTERNATIONAL, LTD.,
14
                    Defendants.
15      - - - - - - - - - - - - - - - - - - - -x
16                  Virtual Deposition
                    New York, New York
17
                       May 27, 2020
18                     10:07 a.m.
19
20                  VIRTUAL DEPOSITION of BRAD
21      KLAUSEGER, a Non-Party Witness in the
22      above-entitled action, held at the above
23      time and place, taken before Jennifer
24      Brennan, a Notary Public of the State of
25      New York, pursuant to Subpoena.

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                                                Page 10                                                   Page 12
    1           B. Klauseger                               1            B. Klauseger
    2   sub-accounts, that's the 3365 account and          2   in 3365?
    3   the sub-accounts that are UL 3811 and US           3      A That's correct.
    4   3812; right?                                       4      Q And then there is also an
    5      A I would have to -- so can you                 5   account ending in 3665-F, the way that I
    6   state that again?                                  6   see that is if you go into the account
    7      Q So I guess we only have trading               7   documents, the 3665 folder, if you look
    8   records for the account that I just                8   at all the documents in there, some of
    9   mentioned, the Master Account, that's              9   them are labeled 3665-F.
   10   33 --                                             10           Do you see that?
   11      A 3365 and the UL and US under                 11      A Yes, I do.
   12   those accounts, yes.                              12      Q Could you explain the
   13      Q I guess I understand from that,              13   difference between the 3365 and the
   14   the other accounts didn't have any                14   3365-F account, if there is one?
   15   trading in these securities?                      15      A So they're both Master
   16      A Yes, that's correct.                         16   accounts. The F account is our IB UK
   17      Q And the securities are Avalon                17   limited account. It's used to trade
   18   and New Concept?                                  18   particular products that aren't offered
   19      A Correct.                                     19   through our IB LC entity.
   20      Q So then going into these                     20      Q And then how does that F
   21   account statements for those relevant             21   account relate to the UL and US account,
   22   accounts I just mentioned, if you go into         22   the long and short?
   23   the folder that says, "Annual                     23      A It's essentially a partitioned
   24   statements," I'm going to now introduce           24   account of the Master I Broker.
   25   these documents, so that's Mint 2018-1,           25      Q So just another sub-account or
                                                Page 11                                                   Page 13
    1           B. Klauseger                               1             B. Klauseger
    2   Mint 2018-UL and Mint 2018-US. So I                2   another --
    3   think that one of them was introduced              3       A I wouldn't quite call it a
    4   already as a Gentile exhibit and that one          4   sub-account. It would be -- essentially
    5   is Exhibit 5 from the Gentile deposition,          5   it's just a partition of the Master
    6   which I'm going to mark now.                       6   Account. It's able to trade other
    7          MS. TAUBER: Does everyone now               7   products that the IB LC cannot offer.
    8      see there is an exhibit in the marked           8   That's the best way I can put it.
    9      exhibits on the exhibit share?                  9       Q So there is no stock trading in
   10          THE WITNESS: Yes.                          10   that account, like regular --
   11      Q So that is the document that is              11       A There should not be any -- I do
   12   Mint 2018-1 in this annual statements             12   not believe any stock trading should be
   13   folder and the other ones I'm marking             13   in that account for US securities.
   14   Exhibit 18, because we ended with                 14       Q So then if you look at the --
   15   Exhibit 17 in the Gentile deposition. So          15   sort of the first page of each of these
   16   now we have Exhibit 5, I think we can't           16   documents that I just marked 5 and 17 and
   17   open them all at the same time, which is          17   18, I believe it was, you see there is
   18   another reason why it's good to have the          18   like a net asset value header on the
   19   other folder opened. So Exhibit 5 -- so           19   first page?
   20   I'm looking at all of these together,             20       A Yes, yes.
   21   even though you can't do it on the                21       Q Sorry, it was 18 and 19. Just
   22   exhibit share.                                    22   to clarify, it was 5, 18 and 19.
   23          So Exhibit 5 is this one, is               23       A Yes.
   24   Mint 2018-1 and that is the activity              24       Q So in Exhibit 5, which is the
   25   statement for the Master Account ending           25   Master Account --
                                                                                            4 (Pages 10 - 13)
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                                                    Page 14                                                    Page 16
    1            B. Klauseger                                  1            B. Klauseger
    2      A Correct.                                          2   document is annoying, but the short
    3      Q -- do you see that it says the                    3   account, which is Exhibit 19, that has a
    4   total -- I guess I'll ask it this way:                 4   total at the end of the same period of
    5   If you look at the net asset value header              5   negative 710,000?
    6   on the first page of each document, how                6      A Correct.
    7   do those relate to one another?                        7      Q So how -- I guess I'm wondering
    8           Like, they don't seem to add up                8   how -- like, what is the relationship
    9   or have the same numbers, but I know                   9   between the net asset value shown on the
   10   that, like we just discussed, there are               10   Master statement and then the two
   11   two sub-accounts and a Master Account, so             11   sub-account statements, in order to
   12   how does that work?                                   12   figure out what is the actual value of
   13      A Net asset value --                               13   this account?
   14      Q So where I'm looking is in                       14          Do you have to add all those
   15   the --                                                15   numbers together or is one included in
   16      A You're in Exhibit 5?                             16   the other, like how is that --
   17      Q Yeah, let me just also put one                   17      A Right, so based on what I
   18   more exhibit on there. And Exhibit 5,                 18   see -- let me take another look at each
   19   for example, I'm looking at the total,                19   of the exhibits again, if you don't mind.
   20   which says -- like at the end of 2018,                20      Q No problem. If you want to
   21   there is eight -- so let me just put one              21   open up at the same time, if you go into
   22   more exhibit up there actually.                       22   the production folder, it goes through
   23           So now there is Exhibit 6 up                  23   the documents that are in like the
   24   there also from the Gentile deposition                24   account statements folder.
   25   and that seems -- tell me if I'm wrong,               25      A I'm opening them up. Okay. So
                                                    Page 15                                                    Page 17
    1           B. Klauseger                                   1           B. Klauseger
    2   but this looks like another way of                     2   each of these -- to understand the total
    3   showing the information that's in                      3   value of the account, Exhibit 6 is not a
    4   Exhibit 5, do you see that, a different                4   consolidated statement.
    5   type of statement with --                              5      Q Okay.
    6      A Yes, I see that.                                  6      A So we would have to combine
    7      Q So where I'm looking at                           7   each of the three accounts, to get a
    8   Exhibit 6, which is more similar to the                8   complete net asset under value.
    9   format of the other two documents, if you              9      Q So just take the 7.94, from the
   10   look at where it says, "Net asset value,"             10   Master statement, Exhibit 6 statement?
   11   on the first page, then it says, "Total,"             11      A Correct.
   12   and I'm looking at the total, like at the             12      Q And subtract that number value
   13   end of December 31, 2018, 7.94 million                13   from the --
   14   number?                                               14      A 710,000.
   15      A Correct.                                         15      Q And that would give you the
   16      Q And then if you look at                          16   total amount?
   17   Exhibit 18, which is the long account, on             17      A Correct.
   18   the front page of that one, a similar                 18      Q Is that total account reflected
   19   like header and then --                               19   on any statement anywhere?
   20      A Yes.                                             20      A It would be reflected on a
   21      Q -- it's total, December 31,                      21   consolidate statement.
   22   2018, is 5.9 million.                                 22      Q So looking at the production
   23          Do you see that, 5.989?                        23   that Interactive produced to us, did they
   24      A Yes.                                             24   produce any statements like that?
   25      Q And then the short, I now each                   25      A The production does not appear
                                                                                                 5 (Pages 14 - 17)
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                                                    Page 18                                                Page 20
    1           B. Klauseger                                   1           B. Klauseger
    2   to have a consolidated statement.                      2   see AWX, which is the Avalon trading
    3      Q Do you know if the statement                      3   symbol mentioned is under a header on
    4   has individual trading on it?                          4   page three, that says, "Marked to Market
    5      A Can you restate that?                             5   performance summary"?
    6      Q The -- if you look at the                         6      A Correct.
    7   Master Account statement, which is                     7      Q And it says like there is --
    8   Exhibit 6, that one has no, like,                      8   there is sort of like -- sorry.
    9   individual trades broken down --                       9      A I didn't hear the last part. I
   10      A Right.                                           10   see the AWX in the Marked to Market.
   11      Q -- versus the long and short                     11      Q Could you explain -- I see that
   12   statements, that 18 and 19. There are                 12   says, "Position, transaction,
   13   like thousands of pages and they have in              13   commissions, total," how is that
   14   the middle of those documents, there is a             14   calculated and what is that telling us
   15   section called "Trades," and there is                 15   about AWX position?
   16   actual executed trades, it looks like, on             16      A So Marked to Market performance
   17   those statements?                                     17   summary details the performance of the
   18      A So, yes, the -- a consolidated                   18   security over the life of the statement
   19   statement would have -- would consolidate             19   or over the period of the statement.
   20   each of the I Broker US and UL accounts,              20          So this would be the -- this
   21   so that trade activity would be displayed             21   would cover specifically over the period
   22   on that consolidated statement.                       22   of 2018. And it shows that AWX invested
   23          MS. TAUBER: Could I ask that                   23   essentially -- this customer invested
   24      be produced to us because that would               24   $379,486.35 into AWX and sold the
   25      make it a lot easier to see all of                 25   position for $5,990,033.13, paid
                                                    Page 19                                                Page 21
    1            B. Klauseger                                  1           B. Klauseger
    2      the trades?                                         2   commissions of $9,290.55, which led to a
    3      Q And I guess what we have --                       3   profit of $5,601,256.23.
    4   would that statement include -- basically              4      Q So when you say that they
    5   would that be just the sum of the US                   5   invested the 379,000 amount, what does it
    6   trading and the UL trading?                            6   mean that it's negative in that --
    7      A Correct.                                          7      A That's how much they paid to
    8      Q It would be just those two                        8   open up that position.
    9   documents.                                             9      Q So what would mean like the
   10          Are there any other, like                      10   next one over, Axon is positive?
   11   trading reports that are included on                  11          Do you see that?
   12   those consolidated statements, that we                12      A Yes, I do. I believe it has to
   13   don't have?                                           13   do with the accounting of the position to
   14      A No, it's essentially a                           14   determine if it's a profit or loss.
   15   combination of all three of these                     15      Q Okay. So now there is a
   16   statements together, would be the                     16   similar line like this in the US account,
   17   consolidated statement.                               17   if you open that document, which is
   18      Q Okay. So I guess going into                      18   Exhibit 19.
   19   the UL and US documents a little bit in               19      A Yes.
   20   more detail, I'm just going to open the               20      Q And that one is AWX, that one
   21   UL document, so we can look at that one               21   is on page four -- three, as well
   22   together, which is the Exhibit 18.                    22   actually.
   23      A Okay.                                            23      A Okay.
   24      Q So for that one, you look at                     24      Q So do you see there, there is
   25   the -- like the headers, the first time I             25   another like similar information, this
                                                                                                6 (Pages 18 - 21)
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                                                Page 22                                               Page 24
    1            B. Klauseger                              1             B. Klauseger
    2   one says 410, I guess invested and then            2   probably reached out to your programmer.
    3   the selling price was 16; right,                   3      Q So the consolidated statement
    4   commissions?                                       4   is not something that's given to the
    5          So in order to get the total                5   customer; is that right?
    6   number of shares traded in this account,           6           It's not something that like
    7   this Master Account, this Omnibus                  7   this --
    8   Account, would you just sort of literally          8      A Right. Well, it may be
    9   add these lines together and then --               9   available to the customer. I'm unsure
   10      A The number of shares?                        10   of -- I know that we can generate a
   11      Q In order to get a full picture               11   specific statement as a consolidated
   12   of the trading in this doc, in this case          12   statement though internally.
   13   it would be under this Marked to Market           13      Q Okay. So meaning -- but that
   14   performance summary header, if you wanted         14   could be any two accounts that I would
   15   to see the overall Marked to Market               15   want? If I'm a customer, I could get --
   16   performance summary of this doc, would            16   in this case, could you do a consolidated
   17   you have to add these columns together,           17   statement between the 3365 account, which
   18   these rows together, meaning the AWX rows         18   is the Master Account or any other
   19   on Exhibit 18 and the AWX row on                  19   accounts?
   20   Exhibit 19?                                       20      A No.
   21      A Would you add it -- yes, I mean              21      Q It has to be the Omnibus?
   22   to get the P/L, you would add the two             22      A Yeah, within the same family of
   23   together, yes.                                    23   accounts.
   24      Q For each column; right? Like                 24      Q So then going into the trading
   25   so that would be the total -- if you              25   section of this -- of these statements,
                                                Page 23                                               Page 25
    1           B. Klauseger                               1            B. Klauseger
    2   added like the position column in the              2   so if you go to the UL statement and
    3   long and short statements together?                3   starting on page nine -- sorry, before
    4      A Yes, it should come out, which                4   that, going to the section that's called
    5   would equal the same P/L.                          5   "Realized and Unrealized performance
    6      Q On the consolidated statement                 6   summary," which is like page 390 of this
    7   you were mentioning, would that already            7   document?
    8   be added or would it be in two separate            8      A You're on Exhibit 19 still?
    9   sections?                                          9      Q I'm in Exhibit 18.
   10      A Yes, it would net the amounts                10           MR. FORD: Is there a function
   11   together.                                         11      to skip to that page because it looks
   12      Q So is it possible for you to                 12      like otherwise I can do one page at a
   13   confirm -- I mean, maybe we can just get          13      time?
   14   a copy of that consolidated statement,            14           MS. TAUBER: I asked about that
   15   but to confirm that actually does add up,         15      and they said there wasn't. That's
   16   the two numbers added together, would be          16      if you open in your production, it's
   17   the number that appeared on the                   17      easier.
   18   consolidated statement?                           18           MR. PROVENCIO: Are we talking
   19      A We would have to -- yes, I                   19      about the short or long account?
   20   believe we could run a consolidated               20           MS. TAUBER: The long account
   21   statement for the two accounts -- for all         21      first. I think they're the same
   22   three accounts. Due to the vast amount            22      format, so I -- we can look at any
   23   of trading activity, we might have some           23      one of these and I assume it's the
   24   difficulty with producing that document,          24      same type of information, like we
   25   but I wouldn't know until I, you know,            25      discussed, we just add it altogether.
                                                                                           7 (Pages 22 - 25)
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                                                   Page 26                                                    Page 28
    1           B. Klauseger                                  1            B. Klauseger
    2      So we can look at each section of one              2   statement, versus realized Unrealized
    3      document, I assume, and then -- I'll               3   detail, the P/L, between the initial
    4      ask that and you'll tell me, but I                 4   purchase price and the ultimate sale
    5      think that would be an example of how              5   price.
    6      it works.                                          6          So Marked to Market can
    7          MR. PROVENCIO: If you look at                  7   change -- Marked to Market can be
    8      the account statements in Adobe, you               8   different because of -- it all depends on
    9      can pull up the bookmarks and skip to              9   when the customer established their
   10      the various sections of the                       10   position and it's showing the change in
   11      statement.                                        11   the period's stock price.
   12          MS. TAUBER: Right.                            12      Q Okay. So -- and the realized
   13      A You said page 290?                              13   Unrealized, depends on what?
   14      Q Well, I'm on page 390 of the                    14      A So realized and Unrealized
   15   UL, Exhibit 18.                                      15   essentially is when you first purchase
   16      A Okay, I'm there.                                16   the stock, versus when you sell the
   17      Q Do you see there is an AWX line                 17   stock.
   18   here and it says, like, the realized,                18      Q Okay.
   19   Unrealized columns and there is total                19      A There is the initial purchase
   20   column?                                              20   price you made and there is the closing
   21      A Right.                                          21   position, which is another price. The
   22      Q So that total column is                         22   difference between there, determines the
   23   5,605,496.92, do you see that?                       23   realized and Unrealized.
   24      A Yes.                                            24          For example, if you buy
   25      Q So I'm just going to tell                       25   something at $10, you sell it at $20, you
                                                   Page 27                                                    Page 29
    1           B. Klauseger                                  1            B. Klauseger
    2   you -- I'll represent to you on page                  2   make $10 in profit. If you buy something
    3   three we just looked at, where it says                3   at $10 and it's valued at $20, you have
    4   "Marked to Market performance summary,"               4   an Unrealized profit of $10.
    5   the total there for AWX was not that                  5      Q Okay. So the Unrealized
    6   number. It was close -- so we looked at               6   performance summary includes shares that
    7   the --                                                7   weren't sold yet, is that what you're
    8      A Right.                                           8   saying?
    9      Q So it was close. There are two                   9      A Correct.
   10   numbers actually in the other page,                  10      Q Then now going to the trade
   11   Marked to Market, there was like the                 11   section there -- okay. So on --
   12   amount you said the trades brought in,               12          MR. FORD: I apologize to
   13   which was a 5.9 number and then there was            13      interrupt, just to clarify that last
   14   like some net profit, which was the 5.6              14      answer because I think you said that
   15   number, which I think excludes                       15      with respect to the Unrealized, I
   16   commissions?                                         16      forget exactly what he said, but the
   17      A Uh-huh.                                         17      Unrealized in the AWX is all zero, is
   18      Q And then here, I don't see how                  18      what I'm looking at.
   19   these numbers sort of align with the                 19          THE WITNESS: Right, which
   20   Marked to Market performance summary                 20      means that he sold -- the customer
   21   numbers.                                             21      sold the entire position.
   22          Can you explain that a little                 22          MR. FORD: Thank you.
   23   bit?                                                 23      Q Why is it different from the
   24      A So Marked to Market represents                  24   Marked to Market?
   25   the change in P/L over the period of the             25      A Marked to --
                                                                                                8 (Pages 26 - 29)
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                                                    Page 30                                                    Page 32
    1            B. Klauseger                                  1           B. Klauseger
    2       Q It's not vastly different, but                   2   represents how much money the customer
    3   it is different.                                       3   made on these AWX trades?
    4       A Because the Marked to Market is                  4      A It's the Realized section, so
    5   this, is that it's showing the P/L of the              5   $5,605,496.91 is what the customer made.
    6   security at the end of the last sale -- I              6      Q Wait --
    7   believe it's the last sale of the review               7      A Are you on Exhibit 18?
    8   period or the close date. So let me                    8      Q Yes. The 5,605,496.91; right?
    9   rephrase this.                                         9      A Yes.
   10           Marked to Market is going to                  10      Q So okay, that's the proceeds
   11   show the change in P/L of a position                  11   minus the commissions; is that right?
   12   based on the close price of that product.             12      A Proceeds minus commissions,
   13   So if I, just for example, if I buy stock             13   minus cost.
   14   at 10, sell it at 20, I have a P/L of                 14      Q Minus basis?
   15   $10. But at the end of the day, if it                 15      A Yes.
   16   closes at $22, I have a Marked to Market              16      Q Then where it says quantity, it
   17   P/L for that day of $12.                              17   says 4,396 under the quantity total?
   18       Q Okay. So that -- so I'm still                   18      A Yes.
   19   not sure why it would be different in                 19      Q Does that mean there is 4,396
   20   this situation because this is like --                20   shares of AWX in his account?
   21   this account scheme is up, as of                      21      A Let's see. It means it
   22   December 31, 2018.                                    22   purchased 4,396 more shares than he sold,
   23           So as of that day, he had sold                23   as detailed above.
   24   all the shares in his account, based on               24      Q So I think I know what happened
   25   the Unrealized performance summary; is                25   to those shares and I think if you go
                                                    Page 31                                                    Page 33
    1           B. Klauseger                                   1           B. Klauseger
    2   that right?                                            2   into the transfer section of this
    3      A Yes, the trade section will be                    3   document --
    4   a better indicator of when he sold it.                 4      A Okay.
    5      Q Let's move to the trade                           5      Q -- there is a transfer of that
    6   section. I believe that's more direct UL               6   amount of shares from the -- I think it's
    7   than anything. If we go to page 933 of                 7   the long and short account?
    8   the ULs of Exhibit 18 --                               8      A Do you have a page for that?
    9      A Okay.                                             9      Q Yes, hold on. I have to open
   10      Q -- that's where the AWX trading                  10   it up. I don't know what happened to
   11   begins and then it ends at page 999.                  11   that page, one second.
   12      A Okay.                                            12          So it's going to be on 4,758 of
   13      Q And so on that page, we have                     13   the Exhibit 18.
   14   this summary, this line that summarizes               14          MR. FORD: 4,758?
   15   total AWX?                                            15          MS. TAUBER: Yes, page 4,758 of
   16      A Yes.                                             16      Exhibit 18.
   17      Q There you have the realized P/L                  17          MR. FORD: Danielle, do you see
   18   and the Marked to Market P/L, you can see             18      the AWX on that page?
   19   they're a little bit different; right?                19          MS. TAUBER: Sorry, it's 4,759,
   20      A Right.                                           20      the very next page.
   21      Q So -- and then there is the                      21          MR. FORD: There it is. Thank
   22   commissions, the proceeds.                            22      you.
   23          So which one of these numbers,                 23      Q So --
   24   like the proceeds, the Realized P/L or                24      A 47 -- okay, all right, yes. I
   25   the Marked to Market P/L, most accurately             25   see there are four internal transfers of
                                                                                                9 (Pages 30 - 33)
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                                                    Page 34                                                Page 36
    1          B. Klauseger                                    1            B. Klauseger
    2   AWX.                                                   2   page 935 or -- yeah, 35, where it says --
    3      Q Right. I think those add up to                    3   like it says 300 shares, do you see that?
    4   the number that we were just looking at,               4      A Yes.
    5   which is the 4,396, the quantity in the                5      Q So actually go down to the
    6   trades?                                                6   third line, where it says 975 shares.
    7      A Uh-huh.                                           7      A Okay.
    8      Q So it looks to me that the                        8      Q And it says P under code, so if
    9   quantity, that that quantity of shares                 9   P is a partial fill, is 975 the number of
   10   was transferred from the UL account to                10   shares that were filled or the number of
   11   the US account?                                       11   shares that were ordered?
   12      A Yes.                                             12      A It's the number of shares that
   13      Q Okay. So that would explain --                   13   were filled.
   14      A Why we see the number of shares                  14      Q Okay.
   15   that's -- that's why we see the higher                15      A So if to explain what the
   16   number of purchase shares, than sold                  16   partial fill indicates, is that the
   17   shares, in the trade section.                         17   customer entered an order for 975 or more
   18      Q Okay. And then so in terms of                    18   shares and it received an execution of
   19   the trades going back to -- I'm sorry to              19   975 shares across multiple executions
   20   jump to these other pages.                            20   multiple fills at various prices.
   21           Going back to the trading                     21      Q Can you say the first thing --
   22   section, if you just talk generally about             22      A The order is for at least 975
   23   what these different columns indicate, if             23   shares and it means that the -- that an
   24   you look at, like, for example, page 934              24   order came in for at least 975 shares to
   25   of this UL, Exhibit 18 document, which is             25   get executed and received multiple
                                                    Page 35                                                Page 37
    1            B. Klauseger                                  1           B. Klauseger
    2   a random page of AWX trading?                          2   executions.
    3      A Yes.                                              3          So it may, for instance, it may
    4      Q So -- okay, so there is this                      4   receive 100 share execution on exchange
    5   transaction, this code at the end on the               5   one and may receive 200 execution on
    6   last column on the right?                              6   exchange two and then receive 675
    7      A Yes.                                              7   execution on exchange three, totaling 975
    8      Q So there is like O, P, C, P?                      8   shares. Each of those executions can be
    9      A Yes.                                              9   executed at various prices, which is the
   10      Q And those transaction codes are                  10   volume weighted average price as shown in
   11   explained at the end of this document?                11   the trade price section, which that
   12      A Correct.                                         12   253,871.79.
   13      Q And so C, I think is a closing                   13      Q Okay. So the next line 2,785,
   14   trade; right?                                         14   is there anyway to tell if, for example,
   15      A Correct.                                         15   these two lines combined, were placed as
   16      Q And then O is an opening trade?                  16   one order for the total number of shares
   17      A Correct.                                         17   or are these separate orders that were
   18      Q I don't know what the P means,                   18   placed?
   19   off the top of my head.                               19      A These are separate orders.
   20      A P is a partial fill.                             20      Q And so if any of these trades
   21      Q Okay. So my question about the                   21   were canceled, they would have the
   22   partial fill ones, is the number that we              22   cancellation code next to them; is that
   23   see here, as the number of shares that                23   right, which I think is CA?
   24   are traded, like for example, if you look             24      A That's correct.
   25   at, for example, like the first line on               25      Q Okay. So now if you go up to
                                                                                              10 (Pages 34 - 37)
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                                                     Page 38                                                    Page 40
     1            B. Klauseger                                  1           B. Klauseger
     2   the production, the Interactive                        2          MR. FORD: Yes, it's up.
     3   production folder, there is a folder                   3          MS. TAUBER: It says, "Too
     4   called Order Blotters and Trade Blotters,              4      large to be previewed," for me.
     5   do you see that?                                       5          MR. FORD: It wants you to
     6      A Yes.                                              6      download it.
     7      Q Under Order Blotters, there are                   7      Q That separate sheet that we can
     8   like four spreadsheets, cancel, cancel,                8   look at together is cancellation -- if
     9   cancel and there is a document called                  9   you scroll down, you can see there is
    10   cancel hard coded, PCP?                               10   some AWX information in there?
    11      A Correct.                                         11      A Uh-huh, yes, I see that.
    12      Q So if you just open, let's say,                  12      Q Does this relate to -- does
    13   open the first spreadsheet -- I guess I               13   this document relate only to Mintbroker's
    14   should introduce it. The thing is, I                  14   cancellations or to any Interactive's
    15   don't know about introducing a                        15   customer's cancellations?
    16   spreadsheet. So maybe we can discuss it               16      A I believe this document was for
    17   without introducing it, if that's okay                17   all cancellations in AWX.
    18   with everybody?                                       18      Q Okay.
    19           MR. FORD: Actually, could we                  19      A Yeah.
    20      introduce it only because I have                   20      Q So if there is no -- like how
    21      pulled up what is on the --                        21   would you expect -- if any of these were
    22           MS. TAUBER: I can do it, but                  22   Interactive's cancellations, how would
    23      it might cause complications because               23   they be reflected on either the UL or US
    24      I don't think we can stamp it because              24   trading reports, like Exhibit 18 and
    25      it's an Excel sheet and I can't print              25   Exhibit 19?
                                                     Page 39                                                    Page 41
     1           B. Klauseger                                   1            B. Klauseger
     2     it to PDF in a good way, but I can                   2          MR. PROVENCIO: Can I ask for
     3     try to introduce it.                                 3      clarification? You said if any of
     4          MR. FORD: I'm certainly not                     4      these were Interactive's
     5     trying to make this more difficult.                  5      cancellations?
     6          MS. McLAUGHLIN: We can also                     6      Q So there are four different
     7     e-mail them to you, Adam.                            7   spreadsheets that Interactive produced,
     8          MR. FORD: Why don't we                          8   that are these cancellation spreadsheets
     9     introduce it and mark it and for our                 9   in that folder.
    10     purposes, we can just look at --                    10          We looked at the Order Blotters
    11          MS. TAUBER: I don't think I                    11   folder?
    12     can mark it, is the problem because                 12      A Correct.
    13     it's an Excel document.                             13      Q So I'm just trying to
    14          MR. FORD: You mean, because                    14   understand if any of these canceled
    15     you --                                              15   trades, were trades that we saw listed on
    16          MS. TAUBER: You can't mark a                   16   the Exhibit 18 and 19, the long account
    17     PDF.                                                17   and short account statements?
    18          MR. FORD: Can't you just title                 18          MR. PROVENCIO: So again, I
    19     it the exhibit number.                              19      don't mean to interrupt, but I don't
    20          MS. TAUBER: I'm going to try.                  20      recall seeing any --
    21     I'm going to do it like this. Hold                  21          MS. TAUBER: Me either, that's
    22     on. Okay, it does work -- unable to                 22      my question.
    23     preview or scan, hopefully it will                  23      Q If any of the UL or US trades
    24     work.                                               24   included any of these canceled trades,
    25          Does everyone see it?                          25   would they have a CA code?
                                                                                                11 (Pages 38 - 41)
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                                                     Page 42                                                    Page 44
     1            B. Klauseger                                  1            B. Klauseger
     2      A So any trade that was canceled,                   2   Blotter -- let me introduce that. Okay,
     3   would be shown on the statement with a CA              3   so Exhibit 22 now is in there and that's
     4   code.                                                  4   the Trade Blotter spreadsheet.
     5      Q Okay. So if you don't see any                     5      A Okay.
     6   CA codes on these UL and US statements,                6      Q So this is all of the New
     7   does that mean that none of those trades               7   Concept and Avalon trades, in general, or
     8   were canceled?                                         8   in -- sorry, let me rephrase that.
     9      A Correct.                                          9           Does this have all the AWX and
    10      Q So I want to look at a few more                  10   GBR trades by all Interactive clients or
    11   documents. The cancellations, so -- back              11   is this specific to -- some of them say
    12   to the marked exhibits again.                         12   Mintbroker?
    13          Okay. So do you see this                       13      A Right. So this is a Trade
    14   document that I just marked as                        14   Blotter that represented all the trading
    15   Exhibit 21?                                           15   activity in these securities, during the
    16      A Yes, I see it.                                   16   review period, by all customers.
    17      Q Okay. So this is about                           17      Q And the ones that say
    18   cancellation of different stocks, not AWX             18   Mintbroker, and they have an account
    19   or GBR, which is New Concept?                         19   number on the column to the left of that?
    20      A Uh-huh.                                          20      A Yes.
    21      Q I'm just curious about how --                    21      Q So looking at the first -- I'm
    22   in this e-mail and I'm seeing that --                 22   looking at a random row, I guess,
    23   tell me if I'm wrong, but it looks to me              23   July 24, 2018, it says account number UL
    24   that Mr. Gentile had placed certain                   24   1043811, account title, Mintbroker and it
    25   orders and then Interactive was informed              25   has a quantity of stock purchased and
                                                     Page 43                                                    Page 45
     1             B. Klauseger                                 1           B. Klauseger
     2   with a CBOE required those orders to be                2   price and a time.
     3   canceled?                                              3          So would that correspond to a
     4      A Correct, that's my                                4   row like this on the UL statement that we
     5   understanding.                                         5   looked at?
     6      Q So how would those trades be                      6      A If it's a partial fill, it will
     7   reflected on the statement? Like, would                7   not because of the statement is, as I
     8   you see those orders?                                  8   explained before, will show the aggregate
     9      A So these aren't trades, these                     9   and volume weighted average price.
    10   are orders. Orders are different than                 10          The Trade Blotter will show the
    11   trades and orders aren't represented on               11   individual executions that made up that
    12   the statements. Only trades are                       12   aggregate transaction on the statement.
    13   represented on the statements.                        13      Q Okay. But if I added up all of
    14      Q Okay. So if he placed an order                   14   the Mintbroker buys on this Trade Blotter
    15   and the order was not filled at all, so I             15   from one date and I took the UL statement
    16   know we just talked about a partially                 16   and added up all of the same date buys of
    17   filled order, would it be reflected on                17   the same stock, would I get the same
    18   the statement?                                        18   number?
    19      A If an order was not filled at                    19      A It should be the same number.
    20   all, it would not be reflected on the                 20      Q And the price might be a little
    21   statement.                                            21   different because one is sort of an
    22      Q Now, going back to the folder                    22   average?
    23   of Order Blotters and Trade Blotters in               23      A Yes, but there will be a volume
    24   the Interactive production.                           24   weighted average price on the statement.
    25           If you go into the Trade                      25      Q On the statement. So the more
                                                                                                12 (Pages 42 - 45)
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                                                    Page 94                                                    Page 96
     1            B. Klauseger                                 1           B. Klauseger
     2   would essentially be liquidated out of                2   counterparty didn't have the shares,
     3   their -- I shouldn't say liquidated, but              3   wouldn't that also fail to clear?
     4   would be bought in on the short position,             4      A I'm not entirely sure.
     5   it would show up as a buy transaction.                5      Q Okay. So what would -- do you
     6      Q So if the customer tried to                      6   know what happened in that situation I
     7   sell and the sale failed to clear, then               7   just described, if Mintbroker tried -- I
     8   you would see another buy in that same                8   think that is what is meant by, the
     9   amount?                                               9   second line of that affirmative defense
    10      A Yes.                                            10   paragraph we read, where he says in
    11      Q And in terms of the price that                  11   parentheses, "because the trades were
    12   was listed, it would be the same price               12   short sales by market makers" --
    13   as --                                                13      A So my belief would be that it
    14      A No, I'm not exactly sure as to                  14   would be subject to a liquidation, which
    15   what price would be, but my understanding            15   is another code that we offer -- that's
    16   is it would be the prevailing market                 16   offered in the code section of the trade
    17   price.                                               17   statement and it will be designated with
    18      Q So how do you tell if you see                   18   an L.
    19   like two rows of trades and there is the             19      Q So again, if -- if in the long
    20   same amount of shares and one is a sale,             20   account, there is no L coded transaction,
    21   one is a buy in the short account, how do            21   then there was no clearing issue?
    22   you tell if that's a fail to clear                   22      A Correct. Correct, yes, that's
    23   situation, with then there is another                23   my understanding.
    24   line that shows they're brought back in              24      Q Would there ever be a B coded
    25   the account or alternatively, if it's a              25   transaction in the long account?
                                                    Page 95                                                    Page 97
     1            B. Klauseger                                 1            B. Klauseger
     2   situation where, just place a buy and a               2       A I am not sure. From my
     3   sell, the same amount of shares right                 3   experience, I have not seen -- I have not
     4   away?                                                 4   seen a long position be involved with a
     5       A Right. So it would be shown as                  5   buy-in, as the logic just does not make
     6   a buy-in, which is a code we have on the              6   sense. You wouldn't be buying in a long
     7   statements, with a column B -- sorry, a               7   position. You would be liquidating the
     8   code B, that would be an automatic                    8   long position.
     9   buy-in.                                               9       Q Okay. And the same with the L,
    10       Q I'm looking at the US account.                 10   that would only be a long account code?
    11   I'm looking at the transaction codes.                11       A You can -- no, the L could be
    12           Basically if I don't see a code              12   on the US side as well. If you went into
    13   B anywhere, then that did not happen?                13   a margin violation, you could be
    14       A Correct.                                       14   liquidated, which we would buy you back
    15       Q And then I can just assume if                  15   in.
    16   it's two trades in the same amount of                16       Q Wait, can you explain that a
    17   shares, it's just two different trade                17   little more?
    18   orders?                                              18           Why would I see an L code in
    19       A Correct.                                       19   the US account?
    20       Q Okay. And you said that would                  20       A The L code would be if there
    21   only be relevant to the short account,               21   was a margin violation that happened in
    22   but in the long account, wouldn't that               22   the account.
    23   also rise in situation where if                      23       Q Like, you went over the margin
    24   Mintbroker tried to purchase shares, but             24   limit, is that what you mean?
    25   the selling party, Mintbroker's                      25       A Right. So -- yes, yes, if you
                                                                                                25 (Pages 94 - 97)
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                                                     Page 98                                                Page 100
     1             B. Klauseger                                 1           B. Klauseger
     2   went over the maintenance margin                       2   any particular point in time. And if
     3   requirement, you didn't have enough cash               3   everybody -- if one broker decides to
     4   in your account to support the                         4   sell short all million shares, but
     5   maintenance margin, then we would have to              5   another broker at the time they did their
     6   liquidate your positions, so we could get              6   locate, also saw that there was a million
     7   that cash value.                                       7   shares to be sold short, there would
     8      Q So that would just go with like                   8   essentially be 2 million shares to be
     9   the last -- how would you determine which              9   sold short.
    10   positions to liquidate, just whatever the             10          And that's when the clearing
    11   trade --                                              11   function happens, over the course of a
    12      A It's an automated process that                   12   few days and those shares should be
    13   I believe does randomization on it.                   13   delivered or be available as part of this
    14      Q So is that true for the B codes                  14   borrowing. But what will happen is, they
    15   as well, like, is it random?                          15   say no, all the shares were already
    16      A No, the buy-in is specific to                    16   borrowed by broker A, therefore, you got
    17   the product because there is a failure                17   to close out your -- the other million
    18   somewhere along the lines by somebody to              18   shares that were sold short by broker B
    19   deliver the shares. So it relates to the              19   and it causes a buy-in.
    20   specific product.                                     20      Q So that correspondence we
    21           The liquidation is associated                 21   looked at before, about borrowing GBR
    22   with the -- is a margin function really,              22   shares, I forget which exhibit that was.
    23   so it's trying to get the account back up             23   I think it was Exhibit 23?
    24   to above the maintenance margin                       24      A Right.
    25   requirement.                                          25      Q So would you -- in the short
                                                     Page 99                                                Page 101
     1           B. Klauseger                                   1           B. Klauseger
     2      Q Is there ever a case where you                    2   account, right, we talked about how you
     3   have a high -- we talked initially about               3   would expect the first trade you see to
     4   how we're going to sell short, you have                4   be a sale; right?
     5   to borrow the stock?                                   5      A Yes, uh-huh.
     6      A Yes.                                              6      Q Does that mean there would be a
     7      Q So does that mean there should                    7   correspondence similar to that GBR borrow
     8   never be a situation where you have a                  8   request, for every sale in the short
     9   higher negative balance in your short                  9   account?
    10   account, than you have a positive balance             10      A There would be a --
    11   in your long account because the                      11      Q So would you expect that any
    12   assumption is you are borrowing the                   12   time that the short account has a
    13   shares from the long account; is that                 13   negative balance, that a request had
    14   right?                                                14   been -- had a negative share balance --
    15      A No, that's not right. When                       15      A Uh-huh.
    16   you're selling short, you're selling                  16      Q -- that a request was made to
    17   short to market, not necessarily your                 17   borrow that amount of shares?
    18   related account. So you are looking out               18      A Yes, in some sense of that
    19   there to the market and say, there are a              19   statement, yes. I mean, this is a very
    20   million shares to be shorted in this                  20   fast and automated process as well, so I
    21   security and/or to be lent to be borrowed             21   wouldn't -- based on my understanding of
    22   as part of the short position.                        22   this request, is he was attempting to
    23          So there is a locate that gets                 23   sell short this position and they were
    24   generated and is disseminated or is                   24   getting either rejections, saying there
    25   available to, you know, the brokers, at               25   are no shares available, I'm not exactly
                                                                                              26 (Pages 98 - 101)
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                                                 Page 102                                                Page 104
     1            B. Klauseger                               1            B. Klauseger
     2   sure what the circumstances were around             2          In addition to that, there is
     3   it. So he inquired with us and said,                3   also the shares lent, where you have all
     4   hey, is there anything available for me             4   these shares on the long side and you can
     5   to short.                                           5   have those shares borrowed by other
     6      Q So before he would have written                6   purchasers or customers, et cetera.
     7   that correspondence, he would have tried            7          So when you -- in my daily
     8   to do it some other automated way?                  8   course of my job, I see these sections
     9      A That's my understanding of how                 9   every time or frequently. And I think
    10   it would work. So with respect to your             10   I've confused it with just your question
    11   request, it's not like everybody goes and          11   of, are these shares being borrowed and
    12   says, hey, how many shares are available           12   I'm looking for specific borrowed section
    13   to be shorted at this point in time,               13   on the statements, versus just somebody
    14   because that would just slow things down           14   opening up a short position, it's just
    15   significantly, in an extremely fast                15   going to show up in the trade section.
    16   market.                                            16       Q And there wouldn't be a
    17          So there is an automated locate             17   borrowed indication?
    18   process that happens and at this point in          18       A Right. So terminology-wise,
    19   time, there are this many shares to be             19   it's not going to show up in a borrowed
    20   sold short. And if whatever reason                 20   section. It's just going to show up as a
    21   surrounding this, he was not able to sell          21   short position.
    22   short because maybe the available short            22       Q So any time there is a sale in
    23   positions were absorbed already by other           23   this short account, it's on this list of
    24   market participants, he inquired about it          24   trades in the short account statement,
    25   and to see if there was any other way to           25   does that mean it was successful?
                                                 Page 103                                                Page 105
     1            B. Klauseger                               1           B. Klauseger
     2   open up a short position.                           2          In other words, that the shares
     3      Q Got it. But so -- I think                      3   were located to be borrowed and then sold
     4   before I had said, if there is no                   4   short?
     5   borrowing section on this statement, does           5      A Yes, yes. So it was -- the
     6   that mean that none of these were short             6   process that was done to say that shares
     7   sales; right, you were looking at the               7   can be sold at this point and the
     8   short account statement and you said that           8   transaction went through.
     9   all of the sales in this account are                9      Q Okay. And that would
    10   short sales.                                       10   necessarily be the case for every sale in
    11           So then I said, why isn't there            11   the short account; right?
    12   a borrowing section and I thought you              12      A Right, otherwise the
    13   said, it's because the shares may have             13   transaction wouldn't have happened.
    14   been taken from the long account. He               14      Q Or would have been in the long
    15   might have had the shares transferred              15   account?
    16   over from the long account.                        16      A The sale of the short?
    17           Am I wrong about that?                     17      Q It wasn't a borrowed sale. It
    18      A Yes, I think there is some                    18   was a regular sale, it would be in the
    19   confusion there. I believe we have a               19   long account statement; correct?
    20   program where people can borrow or lend            20      A Correct, yes, correct.
    21   shares. There is a thing called hard to            21      Q And then back to the answer
    22   borrow, where you pay more money to                22   document, Exhibit 9, just to finish that
    23   borrow these shares and that shows up in           23   up, so I think we said that any of the
    24   this section. And there is a specific              24   trades failed to clear, they would have
    25   list called hard to borrow.                        25   either a B or L transaction code next to
                                                                                          27 (Pages 102 - 105)
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                                                 Page 106                                                    Page 108
     1          B. Klauseger                                 1            B. Klauseger
     2   them?                                               2   does that money still get debited from
     3      A Uh-huh.                                        3   the account, from the long account, even
     4      Q And if it's long or short?                     4   if the shares are not delivered?
     5      A Yes, that's my understanding.                  5       A So are you referring to a
     6      Q And if it was -- if the failure                6   canceled trade?
     7   was on the counterparty's side, like this           7       Q No. I mean -- well, I don't
     8   answer on the line that's on the last               8   know. I guess it could be called a
     9   page of Exhibit 9, where it says, "the              9   canceled trade because it would be the
    10   trades were naked short sales made by              10   other side that's failing in this
    11   market makers, they had not borrowed               11   situation?
    12   shares, if it was a purchase in the long           12       A Right. If there is a canceled
    13   account, but the counterparty was trying           13   trade, then it would be -- there would be
    14   to sell short to a broker --                       14   no accounting of profit and loss. But if
    15      A Uh-huh.                                       15   there was a liquidation, there would be
    16      Q -- how would that trade be                    16   an accounting for profit and loss with a
    17   reflected?                                         17   change in price. And if it was just a
    18          Would it be reflected at all,               18   sale of the position, which is
    19   would it then be followed with a B or an           19   essentially similar to a liquidation,
    20   L code trade or what would you expect to           20   just not directed by IB, then that would
    21   see?                                               21   be -- the difference in price would be
    22      A So this is a transaction where                22   the P/L and that would be reflected on
    23   the counterparty failed. I believe that            23   the statements.
    24   the customer would still maintain an               24           MR. PROVENCIO: Can I just --
    25   opening position on the long side.                 25       are you talking about canceled trade
                                                 Page 107                                                    Page 109
     1            B. Klauseger                               1            B. Klauseger
     2       Q So it would look just like a                  2      as executed then canceled or are you
     3   regular trade --                                    3      talking about canceled order? Is the
     4       A Yes, yes, it would.                           4      question about canceled trade or
     5       Q So then how does the customer                 5      canceled order?
     6   then learn that they don't have the                 6          MS. TAUBER: I'm actually
     7   shares or what happens?                             7      asking about, like there is no
     8       A So I think it would be the                    8      cancellation at all from the
     9   obligation of the market maker to remedy            9      customer's end, it's more that the
    10   the situation, but I'm not exactly sure            10      customer wants to make the trade, it
    11   around the exact process. If it's not on           11      never wants to cancel it, but the
    12   our side, I would think that the market            12      other side doesn't have the stock to
    13   maker on the contra side of the                    13      sell. Mintbroker buys 100 shares and
    14   transaction would have to make sure that           14      that costs him $100, let's say.
    15   the long position was made full, you               15      A In that sense, we wouldn't see
    16   know, was made whole.                              16   the other piece outside of the customer
    17       Q Okay. And in terms of like the               17   transaction, if the market maker that has
    18   net P/L or the income that's brought in            18   to be on the opposite side of the failed,
    19   by the sale or purchase, if it's a                 19   it should not effect or it would not be
    20   counterparty failure, would -- let's say,          20   displayed or really I do not believe it
    21   it's a purchase and the counterparty               21   should effect the customer still.
    22   fails to sell and you see a line on the            22      Q But is the customer still
    23   long account that has a purchase and it            23   debiting that $100, it would be taken out
    24   says, you know, basis or whatever the              24   of the customer's account to pay for the
    25   price was that it paid for the shares,             25   sell?
                                                                                           28 (Pages 106 - 109)
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                                             Page 142                                               Page 144
     1         B. Klauseger                              1           B. Klauseger
     2   the account documents how the voting            2          THE WITNESS: Right, as I
     3   rights were to be exercised. If you             3      stated before, I'm not -- that might
     4   want to vote the shares, tell us by a           4      be a corporate asset function and I'm
     5   certain date. I'm thinking                      5      not sure how to answer that question.
     6   boilerplate language, that exists in            6          MS. TAUBER: Maybe I'll just
     7   an account opening document.                    7      send up a follow-up request, if I
     8       MR. PROVENCIO: You would have               8      think it's necessary.
     9   gotten all the disclosures and                  9          MR. PROVENCIO: Okay.
    10   account agreement itself that would            10          MR. FORD: Is that it for you?
    11   discuss voting, if there was any sort          11          MS. TAUBER: Yes.
    12   of disclosure that we make.                    12          MR. FORD: Thank you.
    13       And to the extent there is a               13   EXAMINATION BY
    14   proxy, the only way I think                    14   MR. FORD:
    15   Interactive Broker gets the proxy, is          15      Q My name is Adam Ford. I'm with
    16   because we are custodian. But we               16   my colleague, Danielle McLaughlin and we
    17   then distribute all that or direct             17   represent Guy Gentile in this matter.
    18   people through sort of communication,          18          In addition to sort of the
    19   that they have a proxy rights or               19   standard sort of questioning rules, I'm
    20   whatever.                                      20   going to be asking you some questions
    21       But we don't make up the proxy             21   today and obviously at any point time you
    22   rights and we don't have some sort of          22   don't understand question, tell me. But
    23   additional disclosure agreement and            23   I'm not certain what the extent of your
    24   that's our disclosure obligation.              24   knowledge is, so I may ask you a question
    25   We're not the ones making the                  25   that's beyond your sort of competency for
                                             Page 143                                               Page 145
     1         B. Klauseger                              1            B. Klauseger
     2   disclosure, it's the issuer.                    2   your job that you're here for. I'm not
     3       MS. TAUBER: Okay. So if there               3   asking you to guess or stretch. So let
     4   is no policy, I see the documents, I            4   me know and don't be afraid to tell me if
     5   can assume like standard voting rules           5   it's beyond what your knowledge base is.
     6   apply to the shares. There is no                6       A Okay.
     7   other agreement that the customer               7       Q So I just want to focus on the
     8   signs about voting.                             8   issue we just raised and what you
     9       MR. FORD: Objection. I think                9   testified about this morning, this
    10   you are just saying something.                 10   question of locating shorts and how
    11       MS. TAUBER: Because before we              11   counterparties, what their
    12   talked how the customers have the              12   responsibilities are, that's sort of the
    13   right to vote the shares in their              13   general topic.
    14   long account, but in the short                 14           First, to be clear, with
    15   account, they don't. So I was                  15   respect to Mint Traders, their trades in
    16   wondering if transfer of the shares            16   AWX and GBR, that we have been talking
    17   from the long to short account, also           17   about, Interactive Brokers is not taking
    18   transfers the voting rights                    18   the opposite side of any of those trades;
    19   associated with those shares.                  19   right, you're not covering or taking a
    20       MR. FORD: I don't know if the              20   position of those trades; correct?
    21   witness can be able testify to those           21       A Yeah, we don't, as a propriety
    22   questions. If the witness is, then I           22   firm, just propriety basis, it's not us,
    23   stand corrected. But it sounds to me           23   we do not.
    24   like the witness has said he's not             24       Q So when Mintbroker sends a
    25   able to testify to that.                       25   trade order for 100 shares of AWX, they
                                                                                     37 (Pages 142 - 145)
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     1             B. Klauseger                             1            B. Klauseger
     2   want to buy?                                       2   customer, we would have that information
     3       A Uh-huh.                                      3   and, therefore, we would know the
     4       Q Could you explain to me what                 4   counterparty to that trade.
     5   Interactive broker does with that order?           5       Q So if that's the case, with
     6       A Yeah. So customer will submit                6   respect to a counterparty that's not an
     7   their order through the trader                     7   IB customer, so it's outside the IB
     8   workstation system and we'll route it to           8   system, do you have any idea whether that
     9   the exchanges, fast activation basis, via          9   party actually owns any of the shares
    10   Smart Routing System and they will get --         10   that they're agreeing to sell? I'll stop
    11   they will analyze the market, find the            11   there.
    12   best exchange and route the order to that         12          Do you know if that
    13   exchange for execution.                           13   counterparty owns the actual shares to
    14       Q When you say exchange, just so              14   sell to fill --
    15   I'm clear, are you talking about sending          15       A No, since we're not privy to
    16   it to, like to a sort of New York Stock           16   their account information, we do not know
    17   Exchange, an actual sort of exchange?             17   if they own or what the position is prior
    18       A Yes, some type of Stock                     18   to the transaction.
    19   Exchange.                                         19       Q With respect to also -- this
    20       Q So is that -- don't they also               20   question is also about outside IB, non-IB
    21   sometimes go to another broker dealer --          21   customers, do you have any idea whether
    22       A They can go to -- well, the                 22   those parties have actually located any
    23   broker dealer can be on the counterparty,         23   shares before agreeing to take the other
    24   if directed as a market commissioner. If          24   side of the order, before agreeing to
    25   that's what your question is.                     25   sell them to fill that order?
                                                Page 147                                               Page 149
     1            B. Klauseger                              1           B. Klauseger
     2      Q Yeah, I think it might be. For                2      A No, we don't know.
     3   example, when we see on the list that              3      Q Now, with respect to the IB
     4   some of the AWX orders are sent to Arca,           4   customers, is it the case that you do
     5   Arca is not an exchange; correct, or is            5   know whether that counterparty would
     6   Arca an exchange?                                  6   actually have those shares in its
     7      A I'm not sure if it's exchange                 7   possession, to fill the order?
     8   or an ECM. I do not believe it's a dark            8      A Well, we would do -- assuming
     9   hole.                                              9   they're making a short sale and they're
    10      Q But the counterparty, so there               10   not closing out a long position?
    11   is a counterparty to each of the orders;          11      Q I'll ask about either.
    12   correct?                                          12      A Okay. So if they are closing
    13      A Uh-huh, yes.                                 13   out a long position, we -- obviously we
    14      Q And do you or does IB have any               14   don't have to do a locate of the short
    15   idea who those counterparties are, who            15   shares. But as part of our process for
    16   the counterparty is to the order?                 16   opening short positions is to query the
    17      A The only time they would                     17   short share or, you know, shares
    18   ever -- the answer to your question is            18   available to be shorted, position for
    19   yes and no, it depends.                           19   pots.
    20      Q Okay.                                        20      Q Now, can we tell from the IB
    21      A If the trade is executed                     21   documents that you've produced, which of
    22   against a non-IB customer, then no, we            22   the Mintbroker orders for the purchase of
    23   would not know the counterparty to that           23   AWX and New Concept, GBR, whether which
    24   trade.                                            24   of those orders were filled with IB
    25          If it's executed against an IB             25   customer accounts?
                                                                                        38 (Pages 146 - 149)
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                                                 Page 150                                                    Page 152
     1            B. Klauseger                               1            B. Klauseger
     2       A That information is not readily               2   you could have six broker dealers look at
     3   available. It would have to be analyzed             3   these million shares and say, okay, I
     4   on a broader basis. Based on the                    4   can, you know, I got a million shares
     5   statements, no, it's not -- I'm not able            5   that my customers can short --
     6   to tell if any of the trades were against           6      A Uh-huh.
     7   another IB customer.                                7      Q -- and if all six of them do
     8       Q So now with respect to the IB                 8   that, there is 1 million actual shares in
     9   customer, now you said if an IB customer            9   existence and yet there would be 6
    10   wants to short a position, short an AWX            10   million shorts of that share; is that
    11   share, that under IB rules, internal               11   correct?
    12   rules, you would require that person --            12      A That is my understanding, yes.
    13   you would require -- who does the locate,          13      Q And in fact, with respect to
    14   the customer or IB?                                14   AWX and you'll tell me if you know or you
    15       A I believe IB would do it as                  15   don't know, the number of shares that
    16   part of a system process. And I'm not              16   were being shorted, was far in excess of
    17   sure exactly how that all works because            17   the amount of shares that were available
    18   it's likely automated.                             18   on the market, do you know that one way
    19       Q IB, now you talked about this                19   or the other?
    20   shares available to short pot?                     20      A I don't know the answer to
    21       A Yes.                                         21   that.
    22       Q What exactly is that? Is that                22      Q That's fine, but with -- but
    23   sort of one -- I'll stop, could you                23   you certainly -- you understand that it's
    24   explain what that is?                              24   possible for there to be more shorts than
    25       A It's just my understanding on a              25   there are actual shares; correct?
                                                 Page 151                                                    Page 153
     1             B. Klauseger                              1             B. Klauseger
     2   very basic level, that this locate, this            2      A Correct, which is, hence, the
     3   process gets done, we identify and I'm              3   fail to delivers.
     4   not sure exactly how it works, you know,            4      Q Right. And this is not just a
     5   the intricacies of it, but we identify              5   theoretical possibility, but is it fair
     6   there is this pot of shares available to            6   to say, that this happens on occasion or
     7   be shorted in the market and you can                7   with some frequency?
     8   essentially allow your customers to make            8      A I would say it happens on --
     9   those short sales, based on the knowledge           9   yes, I would say that's accurate, on
    10   of that, the size of that pot of shares.           10   occasion or with some frequency.
    11      Q Do you know whether when shares               11      Q And so we know that -- we'll go
    12   are actually shorted, right, from -- are           12   back to the example of the 1 million
    13   sort of located from the shares available          13   shares that are available to be shorted
    14   to share pot -- short pot, do all of the           14   and there are 6 million shorts, it's true
    15   other broker dealers, you know, are they           15   that a trade -- I'll period that and
    16   notified that the number of shares has             16   start a separate question.
    17   now been reduced by the number of shorts           17           It's true that when someone
    18   that have gone out?                                18   puts in an order for a trade, that fills,
    19      A So, no, my understanding is                   19   that these trades are on T minus three,
    20   that it's not a reduced number of shares           20   meaning --
    21   to be shorted.                                     21      A Yes.
    22      Q And this goes to what you had                 22      Q -- the counterparty would have
    23   testified earlier today, which is to say,          23   three days to come up with the share; is
    24   that if this is just an example, if there          24   that correct, with the actual share; is
    25   is a million shares in this pot, right,            25   that correct, to deliver?
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                                                Page 154                                                    Page 156
     1            B. Klauseger                              1           B. Klauseger
     2       A Yeah, I think T minus three. I               2   day after, T plus four.
     3   believe there was an update to T minus             3      Q Now, what does that mean,
     4   two though.                                        4   bought in?
     5       Q Okay, so two minus two.                      5      A So that would mean that we
     6       A At the time the trades                       6   essentially -- IB is obligated to close
     7   happened, I believe it was T minus three.          7   out that short sale position that can't
     8       Q I think it was.                              8   be as failed to deliver and so what we do
     9       A T plus three, not minus three.               9   is, we acquire the long position, to
    10       Q T plus, yes, you have the three             10   close out against the short position.
    11   days.                                             11      Q But -- and you would do that,
    12           Now, you had testified that if            12   without regard to the possession of any
    13   you have a situation where a customer has         13   shares; is that correct?
    14   purchased shares, put in -- not purchased         14      A Can you say that again, what do
    15   shares, put in an order to be filled,             15   you mean by that?
    16   right, Interactive Broker agrees to fill          16      Q Absolutely, sorry about that.
    17   that order when there is a counterparty           17   What I'm saying, if you have -- if the
    18   that has agreed to take the other side of         18   counterparty just doesn't have the
    19   that order; is that correct? Does that            19   shares, they're not in their position and
    20   make sense?                                       20   they don't exist, they don't exist to the
    21       A It's not -- I mean, we reroute              21   extent that you got 1 million actual
    22   it to the exchange to get filled.                 22   shares and 6 million and people -- you
    23       Q So a customer puts in their                 23   have six people, each who sold short a
    24   order and Interactive Broker routes it to         24   million shares, there are only a million
    25   the exchange and then it's filled on the          25   shares; right?
                                                Page 155                                                    Page 157
     1            B. Klauseger                              1            B. Klauseger
     2   exchange?                                          2      A Uh-huh.
     3       A Uh-huh.                                      3      Q That means with respect to 5
     4       Q And it's filled by a                         4   million of those sort of shares or short
     5   counterparty?                                      5   sales, there just are not shares to
     6       A Correct.                                     6   deliver; right?
     7       Q And as you testified before, if              7      A Yes.
     8   it's outside IB, you don't know whether            8      Q So when IB closes that position
     9   that counterparty actually owns the share          9   out, it's not because they have a million
    10   or not; is that correct?                          10   shares, they're just making -- is it a
    11       A Correct.                                    11   fair statement that they're just making a
    12       Q Now, if what we just talked                 12   book entry, in terms of the value of what
    13   about, that happens occasionally or with          13   the share would be?
    14   some frequency, that there are more               14      A Just a book entry?
    15   shares that have been shorted than actual         15      Q You can use your words, but I'm
    16   shares in existence, if the trade -- if           16   trying to get at the point that you're at
    17   the order gets to that T plus three and           17   that point, you're not dealing with the
    18   the counterparty does not have the share,         18   actual shares, you're dealing with just a
    19   you testified that -- let me just ask,            19   proxy for the shares?
    20   can you explain to me again what happens          20      A So, right, when we do a buy-in
    21   if the counterparty simply does not have          21   because the short sale is going to be
    22   the share and cannot locate it?                   22   closed out, how do we do that, yes, it's
    23       A On the short sale side, they                23   a book entry accounting function, but
    24   are bought in. It's called a buy-in.              24   there are shares that need to be bought
    25   They are bought in, I believe it's the            25   back in, which is part of the buy-in
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                                                     Page 158                                                Page 160
     1           B. Klauseger                                    1         B. Klauseger
     2   process and needs to be done, I believe                 2   interject here. I appreciate that
     3   on the following trade date, after the T                3   you are trying to give an express
     4   plus three, after the fail to deliver                   4   example, but I think the
     5   happens. And that's how we determine a                  5   simplification of it is obscuring the
     6   price at which those buy-ins happen at.                 6   issue that Brad testified, that
     7      Q I'm not certain I understood                       7   parties can put up shares to be lent
     8   that. You didn't just -- did you just                   8   out. So not every share, you know,
     9   say that there are -- that there are                    9   that is not held by -- every share
    10   actual shares that need to be purchased?               10   that is sort of on the open market,
    11      A If 5 million are sold short and                   11   is necessarily a share that can be
    12   there is a fail to deliver, there needs                12   lent out.
    13   to be shares to be bought back in to                   13       B, you're talking about things
    14   close out that 5 million shares. There                 14   in sort of a vacuum, where every
    15   should be 5 million shares available on                15   order goes in, whether it's a long or
    16   the following day, because the clearing                16   a short, at a price. And so there
    17   process.                                               17   might only -- when you look on the --
    18      Q If the shares available to                        18   look in the pot, the system, I can't
    19   short pot, only ever had 1 million actual              19   remember what it's called, when you
    20   shares in it --                                        20   look in there to see how many shares
    21      A Right, but that changes every                     21   are available to be borrowed, it's at
    22   day, I guess is what needs to be --                    22   a given price. I don't mean to
    23      Q Okay. Let's pull this right to                    23   testify.
    24   AWX.                                                   24       MR. FORD: Please, it's okay.
    25      A Okay.                                             25       MR. PROVENCIO: I want to
                                                     Page 159                                                Page 161
     1            B. Klauseger                                   1         B. Klauseger
     2      Q And in relatively rough                            2   clarify, so the question will be more
     3   numbers, AWX had a total of 3 million                   3   precise. When I put in a price -- I
     4   shares that were available to be traded?                4   want to borrow shares at 100 because
     5      A Yes.                                               5   I think it's going to go down from
     6      Q Okay?                                              6   100, I don't necessarily want to
     7      A Okay.                                              7   borrow shares at some lower or higher
     8      Q At one point, Mintbroker owned                     8   price, so there might only be 100 or
     9   1.9 million or put in, I'm sorry,                       9   10 shares at that level; right?
    10   Mintbroker placed orders to purchase                   10        When there is a buy-in then,
    11   1.9 million of those shares; okay?                     11   there is a failure to deliver, there
    12      A Okay.                                             12   was a buy-in, you were buying in at
    13      Q The total trade volume on, I                      13   whatever price there is; right? And
    14   think it was July 5th, was 12 million                  14   that's where the distinction is.
    15   shares.                                                15   It's not that all of a sudden
    16      A Okay.                                             16   miraculously these shares are
    17      Q I'm making these                                  17   available. It's that there are
    18   representations to you in rough numbers.               18   shares available, but just at a
    19          That would mean that, if I'm                    19   crappy price.
    20   correct on my math, that would mean that               20        MR. FORD: I actually do
    21   there were -- that effectively 1 million               21   appreciate that and Carlos, I'm just
    22   shares were being used as sort of -- were              22   going to direct the question back to
    23   in the pot, right, to buy and sell 12                  23   Brad, but if you feel you need to
    24   million shares, did I do that right?                   24   jump in again, please do.
    25          MR. PROVENCIO: Let me                           25   Q I guess what I'm trying to get
                                                                                            41 (Pages 158 - 161)
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                                                     Page 162                                                Page 164
     1            B. Klauseger                                   1           B. Klauseger
     2   at because with what I understand, Brad,                2   contribute to the decision to close the
     3   tell me if I'm correct, what I understand               3   account?
     4   what Carlos just explained, is that there               4      A I can't recall if that was
     5   is the amount of shares in the float,                   5   identified in the compliance review or
     6   right, does not necessarily equal the                   6   not. It may have, but it -- I'm not
     7   amount of shares available to short; is                 7   certain one way or the other if it was
     8   that correct?                                           8   identified.
     9      A That's correct, yes.                               9      Q Would that be -- would that
    10      Q And in fact what that means,                      10   information be identified in the
    11   the shares available to short, is                      11   compliance review?
    12   necessarily less than, in those cases                  12      A Whether or not it was --
    13   would be less than the shares in the                   13   whether or not this complaint was part of
    14   float?                                                 14   that, yes, it would be identified. It
    15      A Yes.                                              15   would likely be identified if it was part
    16      Q But to go back to our example,                    16   of the reason, yes.
    17   where if you have 5 million shares                     17          MR. FORD: I think I just need
    18   shorted --                                             18      two minutes for Danielle and I to
    19      A Uh-huh.                                           19      discuss off line and then we're
    20      Q -- across brokers, but there                      20      likely done, but for maybe a couple
    21   are only actually 1 million shares, not                21      of follow-up questions.
    22   all of those shares can be obtained and                22          [At this time, a short recess
    23   can be available for delivery, only 1                  23      was taken.]
    24   million of them can be --                              24          MR. FORD: I did hear you at
    25      A That's correct, yes.                              25      the end, that you had some follow-up.
                                                     Page 163                                                Page 165
     1           B. Klauseger                                    1            B. Klauseger
     2      Q I think that might be it on                        2      I have a couple more questions, then
     3   that point. Let me switch topics.                       3      you can ask your follow-up.
     4          You had testified earlier with                   4   BY MR. FORD:
     5   respect to why Mr. -- why the Mintbroker                5      Q Very quickly, to go back to
     6   international account was closed?                       6   sort of basics on orders and what happens
     7      A Uh-huh.                                            7   once an order is placed and filled.
     8      Q You had said there was another                     8           The concept with the T plus
     9   compliance review?                                      9   three, am I correct that that means that
    10      A Yes.                                              10   when Mintbroker places an order for AWX
    11      Q Was that compliance review                        11   shares to purchase, when that order is
    12   initiated by any complaint, either                     12   filled, at that time, the shares of AWX
    13   customer or outside party complaint?                   13   are not transferred to Mintbroker
    14      A I don't recall.                                   14   immediately upon the filling of that
    15      Q And you had mentioned that the                    15   order; is that correct?
    16   determination to close the account, was                16      A So the account will show that
    17   based on public domain information.                    17   it purchased the shares as of that date,
    18          Do you know what public domain                  18   but it will be accounting behind it
    19   information was --                                     19   declaring settlement of the position and,
    20      A Yes, from what I remember,                        20   you know, the funds behind the position
    21   there was allegations out there that he                21   and transference of the shares, that
    22   was being investigated by federal                      22   happens on the T plus three.
    23   agencies.                                              23      Q So is it fair then to say that
    24      Q Was the complaint filed in                        24   if Mintbroker places an order for 100
    25   these cases, part of that review and                   25   shares of AWX on day one and then sells
                                                                                              42 (Pages 162 - 165)
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                                                 Page 166                                                    Page 168
     1            B. Klauseger                               1          B. Klauseger
     2   100 shares of AWX on day two, that at no            2     A    Because of the clearing aspect,
     3   point did any actual shares come into               3   yes.
     4   Mintbroker's possession?                            4     Q And -- right, because the
     5      A No, that's incorrect.                          5   shares don't actually -- by the clearing
     6      Q I thought you just testified                   6   aspect of it, you mean because the shares
     7   that the shares do not come into -- the             7   do not actually clear until T plus three?
     8   shares will not transfer until the T plus           8     A Yes, yeah.
     9   three?                                              9          MR. FORD: Danielle, do we have
    10      A That's an accounting function                 10     anything further?
    11   essentially, but on day two, it's T plus           11          MS. McLAUGHLIN: No, I don't
    12   three, so you're closing the position one          12     believe so.
    13   day after -- the accounting piece of it            13          MR. FORD: Okay, I think that's
    14   happens one day after as well. So I'm              14     all that we have, unless there is
    15   trying to think of the best way to put             15     something on redirect. Thank you.
    16   this.                                              16          MS. TAUBER: I have one
    17           So if you buy the shares, you              17     question about that and unfortunately
    18   sell -- you buy the shares on day one and          18     it goes back to the voting again.
    19   sell the shares on the day two, they're            19   FURTHER EXAMINATION BY
    20   going to clear on Thursday, the sell is            20   MS. TAUBER:
    21   going to clear on Friday.                          21     Q In the example that Adam just
    22      Q I'm not sure I understood that.               22   gave of, you buy the shares on day one
    23   I understood that the transfer of the              23   and the order is filled, on day two,
    24   shares takes place on T plus three?                24   before the clearing process is complete,
    25      A So I guess it's -- it's the                   25   can the customer vote the stock, do you
                                                 Page 167                                                    Page 169
     1             B. Klauseger                              1          B. Klauseger
     2   clearing function of the -- on T plus --            2   know?
     3   on the trade date, you make the trade and           3          Do you know if they have the
     4   on that, you are taking possession of               4   record, if they are the record owner?
     5   those shares, but there is a clearing               5          MR. PROVENCIO: Let me just
     6   function, clearing settlement function,             6      interject that to the extent that
     7   that acts as an accounting function that            7      that is asking for a legal
     8   happens on T plus three.                            8      conclusion, Brad is not a lawyer and
     9       Q But if that is -- if that's the               9      as a lawyer, I'm not sure I know the
    10   case, then when we go back to our prior            10      answer, but let's see what he knows.
    11   example of there being --                          11          MR. FORD: I would second that
    12       A I also want to be clear,                     12      objection. That's right.
    13   it's -- I mean, I guess it's coming down           13      A I don't. I can't answer that
    14   to technicality of the sole process and            14   with a certainty.
    15   I'm trying to clarify my description of            15      Q I thought you had mentioned
    16   it.                                                16   before something about assigning the
    17       Q Maybe I can help you, not to                 17   shares, when we discussed that about the
    18   cut you off, but maybe I can ask it this           18   assignment, if the shares are assigned to
    19   way: When a customer places an order to            19   the account, in a situation where, for
    20   be filled for shares in IB --                      20   example, the person sells short, hasn't
    21       A Uh-huh.                                      21   been found --
    22       Q -- at the moment that that                   22      A Are you talking about the
    23   order is filled, isn't it fair to say              23   buy-in?
    24   that IB has not placed any shares into             24      Q Yeah, I think so. And I think
    25   that customer's account?                           25   you had mentioned that the voting would
                                                                                          43 (Pages 166 - 169)
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                                                Page 170                                             Page 172
     1            B. Klauseger                              1
     2   get sorted out with the assignment                 2       ACKNOWLEDGMENT
     3   somehow, maybe that was separate from the          3   STATE OF NEW YORK)
     4   clearing process, but I don't know if              4          )ss:
     5   that was in the clearing process?                  5   COUNTY OF    )
     6      A I think that had to do with the               6
     7   transfer, the transfer positions; is that          7     I, BRAD KLAUSEGER, hereby certify that
     8   right?                                             8   I have read the foregoing record of my
     9      Q Yeah, sure. I'm not sure if                   9   testimony taken at the time and place
    10   that's the context in which we discussed          10   noted in the heading hereof and I do
    11   this, but --                                      11   hereby acknowledge it to be a true and
    12      A So I just want to make sure                  12   correct transcript of same.
    13   that I'm referencing the right question           13
    14   that you discussed previously.                    14          ______________________
    15           So you said the assignment, I'm           15          BRAD KLAUSEGER
    16   trying to determine what you mean by              16
    17   that.                                             17   Subscribed and sworn to before me
    18      Q Remember I had asked you, has                18   this day of        , 20__.
    19   it ever happened before that a customer           19
    20   has tried to vote shares before they were         20
    21   actually assigned to their account?               21          NOTARY PUBLIC
    22      A Right, and I said I could not                22
    23   answer that question because I was                23
    24   uncertain about it. And I think I would           24
    25   have to discuss it with Corporate Actions         25
                                                Page 171                                             Page 173
     1            B. Klauseger                              1
     2   Department, to see if they have voting             2    EXAMINATION BY     PAGE
     3   rights at that time.                               3      MS. TAUBER     5
     4       Q Would that department also know              4               168
     5   if they had voting rights on this day two          5      MR. FORD     144
     6   period, between order fulfilment and               6
     7   clearing?                                          7
     8       A They may.                                    8
     9           MS. TAUBER: I have nothing                 9
    10       further. Thank you.                           10
    11           MR. FORD: Danielle, anything              11
    12       further?                                      12
    13           MS. McLAUGHLIN: Nothing                   13
    14       further.                                      14
    15           MR. FORD: We're good. Thank               15
    16       you, Brad and Carlos and Jennifer,            16
    17       most importantly. Thank you, Miriam.          17
    18           THE COURT REPORTER: Do you                18
    19       want a copy of this transcript?               19
    20           MS. McLAUGHLIN: Yes, please.              20
    21           (Time noted: 3:21 p.m.)                   21
    22                                                     22
    23                                                     23
    24                                                     24
    25                                                     25
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